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Mr. Cooper
PO Box 60516
City oflndustry, CA 91716-0516

Suffolk County Sheriff
Vincent F Demarco
360 Yaphank: A venue
Yaphank:, NY 11980
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